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                             Exhibit 1
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  Via Email                                                     July 20, 2022

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         Re: In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 19-md-2875 (D.N.J.)

  Dear DEC Counsel:

          Per our discussions during the July 13, 2022 CMC, we identify below the Defendants and
  the economic loss group of Plaintiffs that Plaintiffs propose for a first trial, and consequently for
  which we propose that the parties file the first round of dispositive motions and merits expert
  reports. We believe this approach addresses the concerns you have voiced and provides an
  efficient, streamlined approach to the next phase of the litigation.

          We intend to proceed with the consumer economic loss groups which we have specifically
  identified in our class brief as ZHPTORTEV EW1 and ZHPTORTEV IW1. That is, the consumer
  express warranty and implied warranty claims against manufacturers ZHP, Teva, and Torrent.
  This will implicate the corresponding “state” class representatives associated with those claims,
  those Defendants, the states and states’ laws identified, and those causes of action. The Court can
  determine how and when to address related claims and remedies, for example consumer fraud,
  fraud, and punitive damages, whether as part of the first trial or a subsequent trial. The
  ZHPTORTEV EW1 and ZHPTORTEV IW1 proposed classes meet the requirements we
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  understand the Court has indicated it wants to satisfy for a first trial. We are prepared to propose
  additional logical subgroups and/or claims to follow as directed by the Court.

         Let us know if you have any questions.

                                                               Respectfully,




                                                               Ruben Honik
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  cc:    Valsartan PEC Counsel (via email)
